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                                                         Exhibit A to the Complaint
Location: New York, NY                                                                             IP Address: 108.30.70.25
Total Works Infringed: 34                                                                          ISP: Verizon Fios
 Work     Hashes                                                               UTC          Site         Published      Registered   Registration
 1        Info Hash:                                                           04/10/2021   Tushy        11/27/2017     01/04/2018   PA0002069335
          CA9C1A77C9BAC47BC3A59D3009DCAF3A444BBA43                             07:02:28
          File Hash:
          101196CEF4412C52542EF3A9464D56F0668DBA06995B0F1785FE72F746EB491A
 2        Info Hash:                                                           03/23/2021   Tushy        11/27/2019     01/03/2020   PA0002233434
          00E76680265AA6145E5104F972BDED865E564648                             09:11:20
          File Hash:
          01FF5F2733F0DB3E3E99DAA974FA4AE1DB23077BB9312F2E37DBABAC7B08D1D4
 3        Info Hash:                                                           03/23/2021   Tushy        03/21/2021     04/14/2021   PA0002286723
          8A4E33BE6A9820F4197D25EA3290C7C46BE549EB                             05:41:10
          File Hash:
          8A437387F2B7F2B120B5A458C83606D21ABFDCA11012D601A20B2BF23CB7850F
 4        Info Hash:                                                           03/21/2021   Tushy        12/27/2020     01/05/2021   PA0002269957
          E428BD8EB6A296450A7AFFBE9EAE9551801E0EC7                             15:02:13
          File Hash:
          E762103A09E0B8DE7410D9FBFE11319EF739060543C8E6A53DA08414173DE8B9
 5        Info Hash:                                                           03/21/2021   Tushy        06/30/2018     07/26/2018   PA0002112157
          D954CDF2E37A88F4BE070C18648398E7386C4A62                             14:45:29
          File Hash:
          7318F7F64780ABE7872464D767FA30ABE658D8A9E8D8C0FA9D3CE6DD2C528340
 6        Info Hash:                                                           03/21/2021   Tushy        11/22/2017     01/04/2018   PA0002069339
          A04BC6EE6A5F511A2180BA3378E14FA9BADF5F0D                             14:45:19
          File Hash:
          4A7036C6D800A0381F0B10266F3D658C2BF9A12A44F23CFB89A70A5069002DC4
 7        Info Hash:                                                           03/21/2021   Tushy        03/16/2020     04/15/2020   PA0002244959
          D658F84C28556E69F2CA78DF1761D1E2E05B55C6                             14:45:17
          File Hash:
          69976230B634608F08BBF6B72A999931A341EC7724C09123D53D4D3DC210F4DB
 8        Info Hash:                                                           03/21/2021   Tushy        01/10/2021     02/09/2021   PA0002276153
          D163AC0361EB6CC864706D10AF0BE695755B23BD                             14:45:15
          File Hash:
          EFCE87CE8C06E931AAB49B4498D4288C58CE0A60458AFB169FB70F7B50848253
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Work   Hashes                                                             UTC          Site    Published    Registered   Registration
9      Info Hash:                                                         03/21/2021   Tushy   07/05/2017   07/06/2017   PA0002041555
       AF7CCCF590D9D434E840748651C5C0E95AD55758                           14:45:08
       File Hash:
       D2E054658B9FF1DA5F461121E4DF1EDA78E044FA945C63F77C1572050E4EB8EB
10     Info Hash:                                                         03/21/2021   Tushy   07/15/2018   08/07/2018   PA0002132406
       CE1CBDE8CA002C8A5741BD313AA407540624C716                           14:45:05
       File Hash:
       EE8119E151D43F29846D8BA90F220F29961A8B12848443A924E4A39FA13B5D6E
11     Info Hash:                                                         03/21/2021   Tushy   05/31/2018   07/14/2018   PA0002131771
       BD2C566DE9573DA93C66141398D2FFBECDC98C18                           14:45:02
       File Hash:
       AE124AA8523CBC2E35F4F6FF12D1AD490EEB1287E17EBD8DF62353C11C03A9DE
12     Info Hash:                                                         03/21/2021   Tushy   12/06/2020   12/28/2020   PA0002269080
       8F6CE901C613EBDDDC8C3F2E741A15E9E7E88CB9                           14:45:01
       File Hash:
       2D8BC240F6B93BC6720715EAA37712AA381689B3A0E096D222C751A984B96F36
13     Info Hash:                                                         03/21/2021   Tushy   12/13/2020   12/28/2020   PA0002269085
       919BE34F3B3CC29EA57D9D9B35A6E5548551BEB7                           14:45:01
       File Hash:
       239F555EF659F4CBF069EC7674A98007F638C68EC9DD236705F819B54F2582CC
14     Info Hash:                                                         03/21/2021   Tushy   05/21/2018   07/14/2018   PA0002131769
       AA58BF548B8FDBBBA1396873F3177059AEFE4A8B                           11:43:21
       File Hash:
       DE8E5F7B76A59C90C5F309B07C8E901E01FE425A0F4B48BECF5EEAD91BE9409F
15     Info Hash:                                                         03/21/2021   Tushy   03/02/2018   04/17/2018   PA0002116728
       641BFFB5E0C9D82C7368CC268A9084D430A55028                           11:41:19
       File Hash:
       69E5510EBC82F3EED0FEE740AB1A835F63B70764060D04EF2225B83E470788AF
16     Info Hash:                                                         03/21/2021   Tushy   12/20/2020   01/05/2021   PA0002269960
       DBBD57802F79E1E26BADC38C3C108503D6BFA3CC                           11:40:34
       File Hash:
       02F32E0DC94C9DA27314811BFA28BBFAC276777DB62931A176071D2A9F5D3A26
17     Info Hash:                                                         03/21/2021   Tushy   01/17/2021   02/09/2021   PA0002276149
       DA61A62391FD93945B9ABF288181AFFD34CDB97E                           11:36:25
       File Hash:
       826A7971772567175DEA07B25157699B2320C9782C6B6A70371E65AB76F65B24
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Work   Hashes                                                             UTC          Site      Published    Registered   Registration
18     Info Hash:                                                         03/21/2021   Tushy     01/31/2021   02/09/2021   PA0002276144
       BC31F15E2E0C297593598BD13CE5B4E549674EDD                           11:36:20
       File Hash:
       B91C4397FE14831EF984CBDF4B599DE2559794FC2A95FB0BD11A86348F40D5B8
19     Info Hash:                                                         03/21/2021   Tushy     08/09/2018   09/05/2018   PA0002135685
       BCF180CF2E913351DD99F9D22D9D5677B76C2C23                           11:35:24
       File Hash:
       E4AA8AA89FF5226A06991288DB51F044D2B6D7B4A732C53E8A0CABBF4FD7DF7B
20     Info Hash:                                                         03/17/2021   Tushy     06/15/2017   07/07/2017   PA0002070815
       BA5179C17A6E0ED8E5DEF1AAE751F3E371D5E253                           07:10:49
       File Hash:
       C0A6ABD7BADF27DA6ED556263C1B8A58967E5A4473E7B4C7CB722C68FD862D28
21     Info Hash:                                                         03/17/2021   Tushy     07/15/2017   08/11/2017   PA0002075050
       CA6678C58C405A501AF293322491A7DBD8B843A4                           06:19:57
       File Hash:
       A5664AAB4E889A4354E95D9C223C29E65421511C3DE032A894BFA9FADBD58219
22     Info Hash:                                                         03/17/2021   Tushy     03/14/2021   03/22/2021   PA0002282514
       43A8AB6E80956391E3943858A0B47E1FD106C7B3                           05:30:28
       File Hash:
       EAFDBDE4FE4569DB61BB6DA689D6BCF4048536B068DB2E7F9436198EC61D0413
23     Info Hash:                                                         03/13/2021   Tushy     02/21/2021   03/08/2021   PA0002280370
       F63BBFC680C5A1422FE794C3870264F2321A53D8                           14:00:53
       File Hash:
       79FABDC1A95C1FCF2B38F8A95D211B0E6D2BA8280536667E7DE46CA5DBC7F770
24     Info Hash:                                                         03/13/2021   Tushy     02/28/2021   03/22/2021   PA0002282501
       5EA1CEDFD4BE9576CDFC7164EC71A2854CBFE95B                           10:41:51
       File Hash:
       19B7648336A0AB740B87093BD080CCAEC8B990B2083C3E21389D741846334EA5
25     Info Hash:                                                         03/13/2021   Tushy     03/07/2021   03/22/2021   PA0002282503
       15993034DF725B0F95C9E986F41206E43CE88572                           10:31:32
       File Hash:
       E72A5AD2FA19999DE3594E4E11E69AAE595C3F128A09DA5E97317E75BBA0CA28
26     Info Hash:                                                         02/25/2021   Blacked   12/28/2018   02/02/2019   PA0002155006
       3C6D5785FDC3A9947EA11D9923048076FDE43B96                           01:57:08     Raw
       File Hash:
       CC0ECD3F17E3824A92E704EF79A7ED2101BF86232CBE14F2E24D445CD091E6AB
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Work   Hashes                                                             UTC          Site    Published    Registered   Registration
27     Info Hash:                                                         02/21/2021   Tushy   08/19/2017   10/10/2017   PA0002086140
       AC4716E648BE13E54A0A179A849B95C76F7E454B                           23:40:37
       File Hash:
       8BB7F9D2E194437BECCDAD2EF0653C7734487C25BE1ACC56B2152807257C96EC
28     Info Hash:                                                         02/21/2021   Tushy   02/07/2021   03/08/2021   PA0002280362
       26112837232DD875D757F924859E76EF98E3AB75                           21:17:15
       File Hash:
       E59DA29C27A3913D89575B6C1299D22A05820693A982B1C021DC0FA6AC039ACA
29     Info Hash:                                                         02/21/2021   Tushy   07/20/2018   09/05/2018   PA0002134598
       1018A676073B24EB9A7384E7BF56686079E27B27                           21:15:06
       File Hash:
       14933E0910B60AF2E3929652EA75A2557D35397916823CC0D76B623CECFEAD2B
30     Info Hash:                                                         02/21/2021   Tushy   07/30/2018   09/01/2018   PA0002119590
       42FB29936F0773461AB894640E5895EE9B843742                           16:36:39
       File Hash:
       EF61072101211DEFAC88A911C5D3CFEA3D73C0C57674E9D0614DF3ED55DCA07E
31     Info Hash:                                                         02/21/2021   Tushy   07/25/2019   08/22/2019   PA0002195515
       03C069E6AEB87AFBA7D5C238902F8B37E79B3A47                           16:24:56
       File Hash:
       D529C07D0BB9480ACA88916FA1E57CE98498A9620B6923EBD09F31BEF3E2ADB7
32     Info Hash:                                                         02/20/2021   Tushy   06/30/2019   07/17/2019   PA0002188300
       5C0D8ECA7365BEE319443F580FD34AFAA8ED2835                           21:59:28
       File Hash:
       C2018683EA9532C6F7C9389AF5BC6D4E6F65B7FE41A5A5370E7EE700531F4920
33     Info Hash:                                                         02/20/2021   Tushy   03/27/2019   04/29/2019   PA0002169944
       333EF607453E84D6528AC24F90BAF0FAD4A1117A                           21:59:23
       File Hash:
       8D68759EBB0D26D114D773A87E8A1E37F1FD3735B98773BB38286C4C8F1F36F1
34     Info Hash:                                                         02/20/2021   Tushy   02/14/2021   03/08/2021   PA0002280366
       81C927B65F71A35DC9BEC606F20C69791C589645                           21:54:44
       File Hash:
       1F4409E86A98263BD34267B242C67DA85F665AFF65FEBB8F925DAC4F30BE6C9B
